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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division



 UNITED STATES OF AMERICA                        )
                                                 )
        v.                                       )            CRIMINAL NO. 2:22cr47
                                                 )
 PATRICK TATE ADAMIAK                            )

                           GOVERNMENT’S EXHIBIT LIST

      NEW #               Description                 Authenticating   Admitted
                                                         Witness
  1           Photo of Postal money orders           W. Hairston       10-19-2022
              (11.09.21)
  2           Photo of Priority Mail envelope        W. Hairston       10-19-2022
              addressed
  3           Photo of Shipping label from           W. Hairston       10-19-2022
              Blackdogsarsenal.com (11.17.21)
  4           Photo of PPS 41 machinegun             W. Hairston       10-19-2022
  5           Photo of PPS 41 machinegun             W. Hairston       10-19-2022
              (connected)
  6           Photo of Priority Mail envelope        W. Hairston       10-19-2022
              (11.23.21)
  7           Photo of Postal money orders           W. Hairston       10-19-2022
              (11.23.21)
  8           Photo of Shipping label from Adamiak   W. Hairston       10-19-2022
  9           Photo of PPS-43 machinegun (1)         W. Hairston       10-19-2022
  10          Photo of PPS-43 machinegun (2)         W. Hairston       10-19-2022
  11          Photo of PPS-43 machinegun (3)         W. Hairston       10-19-2022
  12          Photo of PPS-43 machinegun (4)         W. Hairston       10-19-2022
  13          Photo of PPS-43 machinegun (5)         W. Hairston       10-19-2022
  14          Photo of Priority Mail envelope        W. Hairston       10-19-2022
              (12.15.21)
  15          Photo of Postal money orders           W. Hairston       10-19-2022
              (12.15.21)
  16          Photo of Shipping label from           W. Hairston       10-19-2022
              Blackdogaresal.com (12/25/21)
  17          Photo of RPD machinegun                W. Hairston       10-19-2022
  18          Photo of Postal money orders           W. Hairston       10-19-2022
              (03.15.22)
  19          Photo of Priority Mail envelope        W. Hairston       10-19-2022
              (03.15.22)
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  20        Photo of Priority mail from               W. Hairston   10-19-2022
            Blackdogarsenal.com (03.23.22)
  21        PPSH machinegun (physical exhibit)        W. Hairston   10-19-2022
  22        Photo PPSH machinegun                     W. Hairston   10-19-2022
  23        Photo of PPSH machinegun                  W. Hairston   10-19-2022
            (assembled)
  24        M79 40 mm grenade launcher                W. Hairston   10-19-2022
            (physical exhibit)
  25        M203 40 mm grenade launcher               W. Hairston   10-19-2022
  25-1      M203 40 mm barrel (1)                     W. Hairston   10-19-2022
  25-2      M203 40 mm barrel (1)                     W. Hairston   10-19-2022
  26        Photo of M79 barrel assembly in a         W. Hairston   10-19-2022
            Midway sock
  27        Photo of M79 barrel assembly              W. Hairston   10-19-2022
  28        Photo of first barrel assembly for the    W. Hairston   10-19-2022
            M203 grenade launcher
  29        Photo of second barrel assembly for the   W. Hairston   10-19-2022
            M203 grenade launcher
  30 - 1    RPG-7 variant recoil-less antitank        W. Hairston   10-19-2022
            projector1 (physical exhibit)
  30 -2     RPG-7 variant recoil-less antitank        W. Hairston   10-19-2022
            projector2 (physical exhibit)
  31        Photo of RPG-7 variant found in the       W. Hairston   10-19-2022
            house
  32        Photo of RPG-7 variant found in the       W. Hairston   10-19-2022
            house (close-up)
  33        Photo of gun in drawer                    W. Hairston   10-19-2022
  34        Photo of agent holding machine gun        W. Hairston   10-19-2022
  35        Photo of various firearms in safe         W. Hairston   10-19-2022
  36        Photo of various firearms in safe         W. Hairston   10-19-2022
  37        Photo of phone and firearms               W. Hairston   10-19-2022
  38        Photo of gun and machine gun              W. Hairston   10-19-2022
            receivers
  39        Photo of receiver                         W. Hairston   10-19-2022
  40        Photo of receivers of PPS 43              W. Hairston   10-19-2022
  41        Photo of receivers of PPS 43              W. Hairston   10-19-2022
  42        Photo of receivers of MG 42 type          W. Hairston   10-19-2022
  43        Photo of receivers of PPSH 41             W. Hairston   10-19-2022
  44        Photo of RPD receiver                     W. Hairston   10-19-2022
  45        Photo of PPS 43, parts of M2 .50-         W. Hairston   10-19-2022
            caliber machine gun
  46        Sub-machine gun operating manuals         W. Hairston   10-19-2022
            (physical exhibit)
  47        MAC and RPB Industries publications       W. Hairston   10-19-2022
            (physical exhibit)
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  48        Velocity Sales Receipt (07.12.21)         W. Hairston   10-19-2022
            physical exhibit)
  49        Machine gun diagram (physical             W. Hairston   10-19-2022
            exhibit)
  50        Letter from Slovenia (physical exhibit)   W. Hairston   10-19-2022
  51        Photo of crate of gun mount               W. Hairston   10-19-2022
  52        Photo of label of crate of gun mount      W. Hairston   10-19-2022
  53        Photo of inert rockets                    W. Hairston   10-19-2022
  54        Photo of saw                              W. Hairston   10-19-2022
  55        Close-up photo of saw                     W. Hairston   10-19-2022
  56        Photo of welder                           W. Hairston   10-19-2022
  57        Photo of machine gun parts, feed tray     W. Hairston   10-19-2022
            assemblies
  58        Photo of M240 side plate                  W. Hairston   10-19-2022
  59        Photo of M240 side plates                 W. Hairston   10-19-2022
  60        Photo of stacks of MAC receiver flats     W. Hairston   10-19-2022
            inside tool box
  61        Photo of flats for MAC receivers inside   W. Hairston   10-19-2022
            tool box
  62        Photo of welding fixtures and more        W. Hairston   10-19-2022
            flats for MAC receivers
  63        Photo of stacks of shipping USPS          W. Hairston   10-19-2022
            priority mailboxes
  64        Photo of spreadsheet and other            W. Hairston   10-19-2022
            paperwork (physical exhibit)
  65        Photo of leather pouch found in the       W. Hairston   10-19-2022
            drawer
  66        Photo of leather pouch found in the       W. Hairston   10-19-2022
            safe
  67        Photo of cash inside leather pouch        W. Hairston   10-19-2022
            found in the safe
  68        Photo of US currency                      W. Hairston   10-19-2022
  69        Photo of US currency and guns             W. Hairston   10-19-2022
  70        Video test firing M79 40 mm grenade       J. Bodell     10-20-2022
            launcher
  71        Video test firing M79 40 mm grenade       J. Bodell     10-20-2022
            launcher
  72        ATF Certificate – FFL (physical           W. Hairston   10-19-2022
            exhibit)
  73        ATF Certificate – FEL (physical           W. Hairston   10-19-2022
            exhibit)
  74        ATF Certificate - SOT (physical           W. Hairston   10-19-2022
            exhibit)
  75         ATF Certificates – Registered            W. Hairston   10-19-2022
            Firearms (physical exhibit)
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  76        ATF Certificate – no pending              W. Hairston      10-19-2022
            application (physical exhibit)
  77        How To Properly Destroy a Firearm
            Instructions
  78        Certificate of Authenticity of            Alek-Finkelman   10-20-2022
            Adamiak’s military record
  78A       Adamiak Electronic Training Jacket        Alek-Finkelman   10-20-2022
  78B       Adamiak Excerpts from Adamiak’s           Alek-Finkelman   10-20-2022
            Official Military Record
  79        Hard drives containing texts and emails   W. Hairston      10-19-2022
            (physical exhibit)
  80        Eric Schmit (570) 517-1480 texts
            (09.13.16)
  81        Tina (570) 369-0340 and Lara (818)
            590-4577 texts re training etc.
            (10.09.16)
  82        Liam texts re FFL (03.11.17)
  83        (757) 602-3719 texts re demilled not
            semi (06.06.17)
  84        (801) 910-3671 texts (06.17.17)
  85        (210) 601-5413 texts re suppressors
            (06.24.17)
  86        Ken (251) 987-3051 texts re PPS
            (03.31.18)
  87        Krinkov (985) 400-8781 texts re
            suppressors etc. (01.30.19 – 02.03.19)
  88        (573) 35602565 texts re easy repairs
            and trunnion (06.27.20)
  89        (806) 632-5352 texts re how to make
            full auto (10.29.21)
  90        (757) 620-5184 texts re Big Class 3
            Manufacture MAC 10 (11.19.21)
  91        (463) 233-0910 texts re full auto vs.
            semi (12.11.21)
  92        Sam M2 (716) 609-9000 texts re RPG-
            7 etc.
             (12.13.21)
  93        Russell Jones texts re MK97s
            (12.23.21)
  94        Paul Machine (951) 553-5508 texts re
            major tool purchases, heavy machinery
            etc. (01.27.22 – 02.06.22)
  95        (334) 504-2599 texts re military stuff
            and full auto kit (01.29.22)
  96        Furcsik texts re M79 purchase
            (02.28.22 – 03.16.22)
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  97        Adrian 007 (305) 323-5625 texts
            (04.15.21 – 03.05.22)
  98        Craig Whitley email re Gunbroker.com
            Item #844219077 (11.14.19)
  99        Email from Adamiak to Albert Adams
            re select fire trigger groups_04.14.21
  100       msdestiny@aol.com email_08.05.21
  101       Email from Adamiak to R                                            G. Pruess     10-19-2022
            Hayes_10.27.21
  102       Email from Adamiak to Rick Hayes re                                G. Pruess     10-19-2022
            Thompson parts and
            receivers_10.27.21
  103       Email from Adamiak to Rick
            Hayes_10.27.21
  104       Email from Adamiak to R Hayes re                                   G. Pruess     10-19-2022
            mg42_10.28.21
  105       Email from Adamiak to Ted Kavowras
            re issue with item sent to Ted
            Kavowras_12.03.21
  106       Email from Adamiak to C Wheatley re
            Trade with Craig_01.07.22
  107       Email from Adamiak to Craig
            Wheatley re Trade with Craig_01.07.22
  108       Jack Martin email_01.11.22
  109       Email from Adamiak to T Lavesque re
            Thompson_01.19.22
  110       Arleenkeith@verizon.net
            email_01.21.22
  111       Email from Adamiak to Rdub re .30
            and .50 boresight_03.23.22
  112       Application for Tax Paid Transfer and                              W. Hairston   10-19-2022
            Registration of Firearm )03.04.15
            (physical exhibit)
  113       Black Dog Arsenal Invoice (10.20.21)                               W. Hairston   10-19-2022
            (physical exhibit)
  114       STEN Receiver Template (physical                                   W. Hairston   10-19-2022
            exhibit)
  115       MAC 12 flat receipt (08.13.20)                                     W. Hairston   10-19-2022
            (physical exhibit)
  116       Machinist Drawings for Sub-                                        W. Hairston   10-19-2022
            Machinegun Frames (physical exhibit)
  117       MAC 10 Upper and Lower Receiver                                    W. Hairston   10-19-2022
            Blueprints (physical exhibit)
  118       MAC 10 Template with handwritten                                   W. Hairston   10-19-2022
            notes (physical exhibit)
  119       M11 weld block diagram with handwritten notes (physical exhibit)
                                                                               W. Hairston   10-19-2022
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  120       Report of Examination (Ron Davis)     R. Davis    10-19-2022
  121       Report of Examination (Jeff Bodell)   J. Bodell   10-20-2022
  122       Prop gun
  123       (785) 421-7255 texts re sold FA
            (01.24.22)
